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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 1:21-cr-
                                                  :
              v.                                  :    MAGISTRATE NO. 21-mj-134
                                                  :
 BRANDON STRAKA,                                  :    VIOLATIONS:
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                    Defendant.                    :    (Disorderly Conduct in
                                                  :    a Capitol Building)
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                                                  :
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                                     INFORMATION

       The United States of America charges that:


                                          COUNT ONE

       On or about January 6, 2021, in the District of Columbia, Brandon Straka, willfully and

knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with the

intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House

of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

committee of Congress or either House of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))
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                            CHANNING D. PHILLIPS
                            ACTING UNITED STATES ATTORNEY
                            D.C. Bar No. 415793



                      By:    /s/ April N. Russo
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